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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                    )
            v.                      ) Criminal Action No. 1:23-cr-00061-MN
                                     )
ROBERT HUNTER BIDEN,                 )
                                     )
            Defendant.               )
                                     )
____________________________________)


                            MR. BIDEN’S NOTICE OF APPEAL

       Notice is hereby given that Robert Hunter Biden, Defendant in the above-named case,

appeals to the United States Court of Appeals for the Third Circuit from this Court’s May 9, 2024

Order denying Mr. Biden’s motion to dismiss the indictment based on the failure to charge a

constitutionally permissibly offense under the Second Amendment. (D.E. 114.)



Dated: May 20, 2024                         Respectfully submitted,

                                            /s/ Abbe David Lowell
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